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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                       CASE NO: 20-CV-21580-MARTINEZ
                          MAGISTRATE JUDGE REID

  AJAY SINGH,

        Petitioner
  v.

  UNITED STATES ATTORNEY
  GENERAL, et al.

       Respondent
  _____________________________/

       REPORT AND RECOMMENDATION OF MAGISTRATE JUDGE

                                   I. Introduction

        This matter is before the Court on Petitioner’s pro se Petition for Writ of

  Habeas Corpus, filed pursuant to 28 U.S.C. § 2241. [ECF No. 1]. This cause has

  been referred to the Undersigned for consideration and report pursuant to 28 U.S.C.

  § 636(b)(1)(B) and S.D. Fla. Admin. Order 2019-2. [ECF No. 2].

        In the case at hand, Petitioner, Ajay Singh, essentially challenges his

  continued detention by the United States Department of Homeland Security, Bureau

  of Immigration and Customs Enforcement (“ICE”) and argues that he is entitled to

  immediate release from ICE custody pursuant to the Supreme Court’s holding in

  Zadvydas v. Davis, 533 U.S. 678, 698-701 (2001) (holding that removable aliens

  may only be detained for a “reasonable period,” which is presumed to be six months,
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  unless it can be shown that there is a “significant likelihood of removal in the

  reasonable foreseeable future.”). [ECF No. 1 at 4-7]. At the time the Petition was

  filed, Petitioner was in ICE custody and detained in the Krome Service Processing

  Center in Miami, Florida. [Id. at 5].

        Respondent, however, states that since filing the Petition, Petitioner has been

  released from ICE detention pursuant to an Order of Supervision, which Respondent

  attached to the response. [ECF No. 9 at 2; ECF No. 9-1]. Accordingly, Respondent

  argues, there is no longer a case or controversy under Article III, § 2 of the United

  States Constitution, and the Court should dismiss the Petition as moot. [Id. at 2]

  (citing Spencer v. Kenma, 523 U.S. 1, 7 (1998); Soliman v. United States ex rel. INS,

  296 F.3d 1237 (11th Cir. 2002)).

        After careful consideration, and as further discussed below, the Undersigned

  RECOMMENDS that the Petition [ECF No. 1] be DISMISSED AS MOOT.

                                     II.   Discussion

        “Article III of the Constitution limits the jurisdiction of federal courts to the

  consideration of ‘Cases’ and ‘Controversies’” Soliman, 296 F.3d at 1242 (citations

  omitted). “The doctrine of mootness derives directly from the case or controversy

  limitation because ‘an action that is moot cannot be characterized as an active case

  or controversy.’” Id. “[A] case is moot when it no longer presents a live controversy

  with respect to which the court can give meaningful relief.’” Id.

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        In Soliman, the Eleventh Circuit dismissed as moot an appeal filed by an alien

  who had sought habeas corpus relief from his continued detention pending execution

  of a removal order. See id. The alien was removed from the United States while the

  appeal was pending. See id. In light of Soliman’s removal, the Court found that it

  was “abundantly clear” that the appeal was moot because the relief sought - release

  from detention pending removal, in addition to other relief - could not be affected

  by any order from the Court since Soliman was no longer being detained. Id. at 1243.

        Here, a search of ICE’s Online Detainee Locator System reveals no matching

  results for Petitioner, searching both with Petitioner’s A-Number and his name. The

  Undersigned takes judicial notice of such pursuant to Fed. R. Evid. 201. Further,

  Respondent has produced documentation indicating that Petitioner has been released

  from ICE detention pursuant to an April 27, 2020 Order of Supervision. [See ECF

  No. 9-1].

        Thus, the Court concludes that Petitioner has been released from custody and

  his Petition [ECF No. 1] is moot. See Soliman. 296 F.3d at 1242-43. Since Petitioner

  is no longer in ICE custody, no order from this Court directing his release would

  have any effect. As such, there is “nothing for us to remedy, even if we were disposed

  to do so.’” Id. at 1243 (quoting Spencer, 523 U.S. at 18).




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                               III.   Recommendations

        Based on the above, it is RECOMMENDED that the Petition for Writ of

  Habeas Corpus [ECF No. 1] be DISMISSED AS MOOT and this case be CLOSED

  by the Clerk of Court.

        Objections to this Report may be filed with the District Judge within fourteen

  days of receipt of a copy of the Report. Failure to do so will bar a de novo

  determination by the District Judge of anything in the Report and Recommendation

  and will bar an attack, on appeal, of the factual findings of the Magistrate Judge. See

  28 U.S.C. § 636(b)(1)(C); see also Thomas v. Arn, 474 U.S. 140, 149 (1985).

        SIGNED this 1st day of June, 2020.


                                          UNITED STATES MAGISTRATE JUDGE


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